

Matter of Whitney v Whitney (2017 NY Slip Op 07045)





Matter of Whitney v Whitney


2017 NY Slip Op 07045


Decided on October 6, 2017


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on October 6, 2017
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: CENTRA, J.P., CARNI, LINDLEY, TROUTMAN, AND WINSLOW, JJ.


1023 CAF 15-01467

[*1]IN THE MATTER OF MICHAEL G. WHITNEY, PETITIONER-APPELLANT,
vDENISE T. WHITNEY, RESPONDENT-RESPONDENT. (APPEAL NO. 4.)






LOVALLO &amp; WILLIAMS, BUFFALO (TIMOTHY R. LOVALLO OF COUNSEL), FOR PETITIONER-APPELLANT. 
DAVID S. SARKOVICS, ATTORNEY FOR THE CHILD, ORCHARD PARK. 


	Appeal from an order of the Family Court, Erie County (Michael F. Griffith, J.), entered August 6, 2015 in a proceeding pursuant to Family Court Act article 6. The order granted the motion of the Attorney for the Child to dismiss the amended petition for modification of a prior custody order. 
It is hereby ORDERED that said appeal is unanimously dismissed without costs.
Same memorandum as in Matter of Whitney v Whitney ([appeal No. 3] ___ AD3d ___ [Oct. 6, 2017]).
Entered: October 6, 2017
Mark W. Bennett
Clerk of the Court








